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                            UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION
                                          AUSTIN

Ashley M. Concepcion                                    §
                                                        §
vs.                                                     §       NO: AU:21-CV-00744-RP
                                                        §
Affiliate Asset Solutions, LLC                          §

                                                   ORDER

        The Court hereby sets
                         sets and directs the parties, or counsel acting on their behalf, to appear by
                              conference on May 19, 2022 at 09:20 AM .
phone for an initial pretrial conference
                  **Please call in 5 minutes prior to start of hearing.**

                 1. Toll free number: 888-363-4735

                 2. Access code: 3948919

        If there are questions regarding the telephonic appearance, the parties should contact Julie

Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov.



        The use of speaker phones is prohibited during a telephonic appearance. Additionally,
because earlier hearings in other cases may be in progress at the time attorneys call in for their
scheduled conference, attorneys should call in with their phones on “mute” and wait for the

Courtroom Deputy to call this case.before they speak.



        The parties should be prepared to discuss potential trial settings as the Court intends to set a
trial date in this action at the initial pretrial conference.



                            on 17th day of May, 2022.




                                                            Robert Pitman
                                                            UNITED STATES DISTRICT JUDGE
